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                             8                                  UNITED STATES DISTRICT COURT
                             9                              CENTRAL DISTRICT OF CALIFORNIA
                            10
                                 UNITED STATES OF AMERICA                         Case No. 2:19-CR-354-VAP
                            11
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                                          v.                                      DEFENDANTS’ MOTION TO COMPEL
                            12                                                    GOVERNMENT PRODUCTION
                            13   CAPITAL SHIP MANAGEMENT CORP.,
                                 AND IOAN LUCA,                                   Date:        September 9, 2019
                            14                                                    Time:        9:00 a.m.
                                                  Defendants.                     Judge:       Virginia A. Phillips
                            15

                            16

                            17            COME NOW, Capital Ship Management Corp. (“CSM”) and Ioan Luca (“Luca”)

                            18   (collectively “Defendants”), by and through undersigned counsel, and submit this Motion to

                            19   Compel the government to disclose of all Brady/Giglio material and an early disclosure of

                            20   both Fed. R. Crim. P. Rule 26.2 and Jencks material. In support thereof, Defendants

                            21   respectfully show as follows:

                            22                        FACTUAL AND PROCEDURAL BACKGROUND

                            23            This case concerns alleged record-keeping failures onboard the M/V CMA CGM

                            24   AMAZON (the “Vessel”) to wit, allegedly causing the knowing failure to maintain an accurate

                            25   Oil Record Book while in U.S. waters. See Indictment, Doc. 41. Defendants have been

                            26   charged1 with allegedly violating the Act to Prevent Pollution from Ships, 33 U.S.C. § 1908(a)

                            27   (“APPS”), Obstruction of Justice, 18 U.S.C. § 1503, § 1512(b)(3), 1519, and Conspiracy

                            28   1   CSM has been charged vicariously for the alleged acts of Defendant Luca.
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                             1   pursuant to 18 U.S.C. § 371, by way of (alleged) acts or omissions by Luca while he was
                             2   serving aboard the Vessel. Id. To date, the government has produced some, but not all,
                             3   discovery in response to Defendants’ written requests dated June 18, 2019 and Supplemental
                             4   Requests dated July 9, 2019 and July 22, 2019. A copy of Defendants’ requests are attached
                             5   hereto as Exhibit 1, Exhibit 2, and Exhibit 3 respectively.
                             6                      MEMORANDUM OF POINTS AND AUTHORITIES
                             7   I.     Defendants Seek the Prompt Disclosure of Outstanding Rule 16 Requests
                             8          The government has not yet produced several items which were removed from the M/V
                             9   CMA CGM AMAZON by the Coast Guard in connection with the onboard investigation in
                            10   January 2019, including but not limited to:
                            11              o   Copy of Item 30 – Samsung LTEA Galaxy S5 SM-G900K
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                            12              o   Copy of Item 31 – Samsung Galaxy S8+SM – 6955F
                                            o   Copy of Item 33 – Sony Cybershot Camera DSC – W800
                            13              o   Copy of Item 34 – Lumix Panasonic Camera - Orange
                                            o   Copy of Item 40 – Samsung Cellular Phone Galaxy A5 Model SM A500FU
                            14              o   Copy of Item 53 – Samsung Galaxy J5 Duos Model#: SM-J510UN
                                            o   Forensic images of any other crewmembers’ telephones, cameras, laptop
                            15
                                                computers, tablets, external hard drives, and/or other electronic storage
                            16                  devices.

                            17   See Exhibits 1-2. These items should be produced without delay.

                            18   II.    Defendants Seek the Prompt Disclosure of Applicable Brady/Giglio Material
                            19
                                        The duty to disclose all exculpatory and/or impeachment evidence falls within the
                            20
                                 Brady rule. See United States v. Bagley, 473 U.S. 667, 676, (1985) (citing Brady v. Maryland,
                            21
                                 373 U.S. 83, 87 (1963)); see also Giglio v. United States, 405 U.S. 150, 153-54 (1972)
                            22
                                 (holding that such evidence extends to impeachment evidence.). The duty to disclose arises
                            23
                                 “even if no request is made.” United States v. Agurs, 427 U.S. 97, 107 (1976). “[T]he
                            24
                                 individual prosecutor has a duty to learn of any favorable evidence known to the others acting
                            25
                                 on the government’s behalf in the case.” Kyles v. Whitley, 514 U.S. 419, 437 (1995). The rule
                            26
                                 is not one limited to material which the government subjectively believes is ‘not exculpatory.’
                            27
                                 Rather, the government has the duty and obligation to learn of exculpatory or impeachment
                            28
                                 evidence and to provide it to the Defendants. Id. “There is no question that the government's
                                                                                2
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                             1   duty to disclose under Brady reaches beyond evidence in the prosecutor's actual possession.
                             2   Since Giglio, the Supreme Court has made clear that prosecutors have ‘a duty to learn of any
                             3   favorable evidence known to the others acting on the government's behalf in the case.’” United
                             4   States v. Risha, 445 F.3d 298, 303 (3d Cir. 2006) (quoting Kyles v. Whitley, 514 U.S. 419, 437,
                             5   115 S. Ct. 1555, 131 L. Ed. 2d 490 (1995)). Defendants request that the government be
                             6   compelled to promptly produce all outstanding Brady/Giglio material.
                             7   III.   Defendants Seek the Prompt Disclosure of All Henthorn Material
                             8
                                        Defendants respectfully request that this Court order the government to produce the
                             9
                                 personnel files (or relevant parts thereof) of all law enforcement witnesses whom it intends to
                            10
                                 call at trial, for evidence of perjurious conduct or dishonesty, for impeachment purposes.
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                                 Defendants note that the Department of Justice and the Department of the Treasury have
                            12
                                 adopted a Giglio, supra policy, USAM §§ 9-5.001 and 9-5.100(2006)), requiring disclosure of
                            13
                                 precisely such information whenever a request for potential impeachment information of a
                            14
                                 potential law enforcement witness has been submitted to the United States Attorney’s Office in
                            15
                                 a particular case and the requisite search has revealed such impeachment information exists.
                            16
                                 See also, United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991), cert. denied, 112 S. Ct. 1588
                            17
                                 (1992). Each United States Attorney’s Office must have a plan in effect to implement this
                            18
                                 Giglio Policy. See USAM § 9-5.100(13).
                            19
                                        Defendants are not required to make any initial showing that the requested personnel
                            20
                                 files contain impeaching material or material evidence at all in order to request their
                            21
                                 production by the government. See, Henthorn, 931 F.2d at 31 (Defendants have no burden to
                            22
                                 make an initial showing of materiality in requesting personnel records). Rather, “[e]ach
                            23
                                 investigative agency employee is obligated to inform prosecutors with whom they work of
                            24
                                 potential impeachment information as early as possible prior to providing a sworn statement or
                            25
                                 testimony in any criminal investigation or case.” USAM § 9-5.100(1). Accordingly, it is the
                            26
                                 government which must institute the relevant search for potential impeachment information
                            27
                                 once a request has been made. Id.
                            28
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                             1   IV.    Defendants Seek Early Disclosure of Jencks Act and Fed. R. Crim. P. 26.2
                             2          Material

                             3          “Under the Jencks Act, 18 U.S.C. § 3500 . . . the government must produce any

                             4   statement in its possession relating to the subject matter of the testimony of a witness who has

                             5   taken the stand for the government.” United States v. Conroy, 589 F.2d 1258, 1272 (5th Cir.

                             6   1979); see also Fed. R. Crim. P. 26.2. The Jencks Act defines “statement” as follows:

                             7          (e) The term “statement”, as used in subsections (b), (c), and (d) of this section
                                        in relation to any witness called by the United States, means—
                             8
                                                (1) a written statement made by said witness and signed or otherwise
                             9                  adopted or approved by him;

                            10                  (2) a stenographic, mechanical, electrical, or other recording, or a
                                                transcription thereof, which is a substantially verbatim recital of an oral
                            11                  statement made by said witness and recorded contemporaneously with
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                                                the making of such oral statement; or
                            12
                                                (3) a statement, however taken or recorded, or a transcription thereof, if
                            13                  any, made by said witness to a grand jury.

                            14   33 U.S.C. § 3500 (e).

                            15          Federal Rule of Criminal Procedure 26.2 defines “statement” as follows:

                            16          (f) “Statement” Defined. As used in this rule, a witness’s “statement” means:

                            17                  (1) a written statement that the witness makes and signs, or otherwise
                                                adopts or approves;
                            18
                                                (2) a substantially verbatim, contemporaneously recorded recital of the
                            19                  witness’s oral statement that is contained in any recording or any
                                                transcription of a recording; or
                            20
                                                (3) the witness's statement to a grand jury, however taken or recorded,
                            21                  or a transcription of such a statement.

                            22   Fed. R. Crim. P. 26.2 (f).

                            23          The purpose of the Jencks Act is to allow for effective cross-examination of

                            24   government witnesses by impeachment with inconsistent statements. See United States v.

                            25   Beasley, 576 F.2d 626, 633 (5th Cir. 1978) and Palermo v. United States, 360 U.S. 343, 349

                            26   (1959). “The Jencks Act requires that the government disclose prior recorded statements of its

                            27   witnesses that are ‘related’ to the subject matter of their testimony.” United States v. Hill, 976

                            28   F.2d 132, 139-40 (3d Cir. 1992); see also United States v. Murphy, 569 F.2d 771, 773 (3d Cir.)

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                             1   (endorsing prevailing practice of government of disclosing Jencks material at an earlier time),
                             2   cert. denied 435 U.S. 955, 55 L. Ed. 2d 807, 98 S. Ct. 1588 (1978)). Defendants respectfully
                             3   move for the early production of Jencks material and seek production of all material two (2)
                             4   weeks before trial. Early production of all statements and recordings is necessary, appropriate,
                             5   and in the interests of justice.
                             6   V.      Early Disclosure is Fair, Equitable, and Necessary under the Facts and
                                         Circumstances of this Case.
                             7
                                         Perhaps most significantly, counsel seeks early production to ensure there will be
                             8
                                 adequate time to comprehensively review the material and both consult and advise Defendants.
                             9
                                 See, e.g., Glasser v. United States, 315 U.S. 60, 69-70 (1942)(as the government interest under
                            10
                                 the Jencks Act to not disclose early is outweighed by the Defendant’s Sixth Amendment right
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                                 to effective assistance of counsel). Defendants, their respective representatives, and witnesses
                            12
                                 are foreign nationals located abroad (i.e. – Greece, Philippines, Romania, and elsewhere).
                            13
                                 None are native English speakers. In addition, the production of such material early in no way
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                                 prejudices the government. It is fundamentally fair and necessary to allow for additional time
                            15
                                 and to require early production so as to ensure the Defendants receive a fair trial and receive
                            16
                                 effective assistance of counsel. Glasser, supra.
                            17
                                                                          CONCLUSION
                            18
                                         WHEREFORE, based on the foregoing, and what might be added at oral argument of
                            19
                                 this motion, should the Court require it, Defendants respectfully move this Court for an Order
                            20
                                 directing the government to produce all applicable Brady/Giglio material and for the early
                            21
                                 disclosure of Fed. R. Crim. P. Rule 26.2 and Jencks material.
                            22

                            23
                                 Dated: August 12, 2019                           KAYE, ROSE & PARTNERS, LLP
                            24
                                                                                  By:    /s/ Bradley M. Rose
                            25
                                                                                        Bradley M. Rose (126281)
                            26                                                          Attorney for Capital Ship Management
                                                                                        Corp.
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                                                           DEFENDANTS’ MOTION TO COMPEL GOVERNMENT PRODUCTION
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                             1   Dated: August 12, 2019                          CHALOS & CO, P.C.
                             2

                             3                                                   By: /s/ Briton P. Sparkman
                             4                                                       George M. Chalos, PHV
                                                                                     Briton P. Sparkman, PHV
                             5                                                       Attorney for Capital Ship Management
                                                                                     Corp.
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                             7

                             8
                                 Dated: August 12, 2019                          TUCKER ELLIS LLP
                             9
                            10
                                                                                 By: /s/ Marc R. Greenberg
                            11                                                       Marc R. Greenberg (123115)
Kaye, Rose & Partners LLP




                                                                                     Attorney for Ioan Luca
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                             1                                 CERTIFICATE OF SERVICE
                             2
                                        I hereby certify that the Notice of Motion and Motion of Defendant Capital Ship
                             3
                                 Management Corp. and Ioan Luca to Compel Government Production, were filed through the
                             4
                                 Court’s CM/ECF system which will generate a Notice of Electronic Filing (“NEF”)
                             5
                                 automatically and e-mail of the filing to all attorneys of record for parties who have appeared
                             6
                                 in the case who are registered CM/ECF users.
                             7
                                                                                     /s/ Briton P. Sparkman
                             8                                                       Briton P. Sparkman

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